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12
13                         UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15 United States of America,              CR No. 17-00661 (A) – DMG

16             Plaintiff,                 DEFENDANT JULIAN OMIDI’S
                                          TRIAL MEMORANDUM
17        v.                              REGARDING APPROPRIATE SCOPE
                                          OF TESTIMONY OF COOPERATING
18 Julian Omidi, et al.,                  WITNESSES

19             Defendants.
                                                   [No Hearing Set]
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        DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM REGARDING APPROPRIATE SCOPE OF
30                         TESTIMONY OF COOPERATING WITNESSES
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 1         Defendant Julian Omidi (“Omidi”), by and through his counsel, Willkie Farr and
 2 Gallagher LLP, hereby submits this trial memorandum on the appropriate scope of direct
 3 and cross-examination of the government’s cooperating witnesses. Either because of
 4 inexperience, ignorance of the law, or intentional misconduct, the government has
 5 repeatedly attempted to lead the Court into error. It is simply impossible for the Court,
 6 which cannot possess the full range of information available to the parties, to appropriately
 7 police the admission of proper testimony when the government is repeatedly attempting to
 8 elicit from its witnesses testimony that the government knows has no proper basis for
 9 admission.
10         Specifically, the government is repeatedly attempting to elicit from its witnesses
11 entirely improper speculation regarding what Mr. Omidi supposedly knew, intended, or
12 believed. The Ninth Circuit has made clear that the government simply cannot do this, but
13 the prosecutors here have insisted on doing just this even after being admonished by the
14 Court. If the government’s witnesses heard Mr. Omidi make a statement that pertains to
15 what Mr. Omidi knew, intended or believed, the witnesses should be asked to tell the jury
16 the statement that they heard Mr. Omidi make and the jury will be the arbiter of deciding
17 what Mr. Omidi actually knew, intended or believed, based on the statements Mr. Omidi
18 made. A witness for the government should not be offering their hypothesis as to what Mr.
19 Omidi knew, intended or believed, but can only testify as to what they personally observed
20 Mr. Omidi doing or saying.
21         The government is also asking an incredible number of improper leading questions.
22 Even where the Court sustains the objection—and the Court has unquestionably sustained
23 objections on many of these improper questions—when this type of improper leading
24 questioning is done repeatedly, the improper effect is the same. Leading questions are
25 prohibited because they implant in the witness’s mind the “correct” answer to the
26 question—that is, the answer that the prosecutor wants, expressed as the prosecutor prefers.
27 This is completely improper, and it has happened repeatedly throughout the trial.
28         Similarly, the government has, and may continue, to improperly seek to limit lines of
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 1 cross-examination that the government knows are not only appropriate, but constitutionally
 2 required. Specifically, the government has objected to the defense’s questions regarding
 3 witness bias, as related to the criminal penalties that the government has extinguished as a
 4 benefit to them. These questions are so clearly appropriate that courts have found that
 5 where they were not asked, the defendant had a viable claim for constitutionally ineffective
 6 counsel. Indeed, more than thirty years ago, the Supreme Court issued its opinion in
 7 Delaware v. Van Arsdall, where it held that when the defense is prohibited from cross-
 8 examining a witness about benefits from the government, the Sixth Amendment’s
 9 Confrontation Clause has been violated. See 475 U.S. 673, 679-84 (1986). Given this long-
10 enduring precedent, the government is well-aware that its objections are baseless, and they
11 should stop immediately.
12      I.      THE COURT SHOULD PREVENT THE GOVERNMENT FROM
13              ELICITING SPECULATION REGARDING THE DEFENDANTS’
14              KNOWLEDGE AND INTENT FROM ITS COOPERATING
                WITNESSES.
15
16           The government has repeatedly posed questions to its witnesses first asking for
17 their “understanding” regarding some aspect of the Defendants’ knowledge or intent, and
18 then asking the witness to offer a detailed explanation as to why the witness had this
19 “understanding.” This is nothing more than an improper invitation for the witness to inject
20 hearsay and improper speculation into the record. See United States v. Whitworth, 856
21 F.2d 1268, 1284-85 (9th Cir. 1988). In Whitworth, the Ninth Circuit concluded that the
22 district had abused its discretion in permitting a cooperating witness to testify as to the
23 defendant’s state of mind, writing:
24             On a related matter, Whitworth claims that numerous irrelevant
               or speculative statements by Walker were improperly admitted
25             at trial. One allegation requires our attention. During redirect
26             examination, Walker was asked whether he ever had “suspicions
               or apprehensions that Mr. Whitworth knew that the real buyers
27             were the Soviets?” After a defense objection was overruled,
28             Walker answered affirmatively. He stated that his belief was
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 1               based on “[c]ommon sense, sir. It made no sense that a friendly
 2               government or a criminal element would buy cryptographic
                 material.” The question clearly asked Walker to speculate about
 3               Whitworth's state of mind . . . . The district court abused its
 4               discretion in admitting the statement.

 5 Id. The government’s improper questions here as to whether witnesses “understood” or
 6 believed that the Defendants’ possessed some guilty knowledge are equally improper.
 7 Indeed, in Whitworth, the government on appeal did not even attempt to justify such
 8 questioning, other than arguing that the questioning occurred on re-direct and the defense
 9 had opened the door. See id. Here, of course, the government is proceeding with such
10 questioning on direct. Regardless, the Ninth Circuit rejected the “opening the door”
11 argument in Whitworth, finding the questioning still was improper, if harmless in that case
12 given the other evidence. See id. The Court should not allow any such questioning on the
13 part of the government to continue.
14
      II. THE COURT SHOULD PREVENT THE GOVERNMENT FROM
15           REPEATEDLY ASKING LEADING QUESTIONS WHICH
16           ACCOMPLISH THEIR IMPROPER PURPOSE EVEN WHERE THE
             OBJECTION IS SUSTAINED.
17
18        The prosecutors have repeatedly asked leading questions in this case, despite
19 repeated admonishment from the Court. The abuse of Rule 611’s prohibition against
20 leading question on direct examination has not been uniform throughout the trial, but it
21 has been particularly egregious at various points in the trial. Indeed, the Court has
22 sustained many of defense counsel’s objections to leading questions and appropriately
23 admonished the government. However, as has become apparent over the course of the
24 trial, where the leading is repeated and intentional, mere sustaining of objections is
25 insufficient, as the prosecutor has already accomplished the improper goal of guiding the
26 witness towards his desired answer and robbing the jury of the ability to assess credibility
27 that is at the heart of Rule 611. See Waddington North American, Inc. v. Sabert Corp,
28 2011 WL 344150 at *18 (D.N.J. Aug. 5, 2011) (granting a new trial and observing that
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 1 “After a certain point, it was not possible for [the opposing party] to object on every
 2 occasion without prejudicing itself . . . . While the occasional improper leading
 3 question occurs in every case, repeatedly asking leading questions of a party’s own
 4 witnesses is prejudicial. Indeed, leading questions have the effect of preventing the
 5 jury from making a proper credibility determination.”). Among the reasons why
 6 leading questions are prohibited is the fact that “if a witness cannot recall the events and
 7 has difficulty answering an open-ended question, a jury is entitled to find that testimony
 8 not credible.” Id. “Leading questions rob the jury of the ability to make that
 9 determination [and] [r]epeated leading questions cause witnesses to become ‘relatively
10 unnecessary except as sounding boards.’” Id. (citing Straub v. Reading Co., 220 F.2d
11 177, 180 (3d Cir. 1955)). The effect of repeated leading questions “is that the attorney
12 testifies and the jury is unable to assess the credibility of the witness.” Id. In Straub, the
13 case relied upon by Chief Judge Brown in Waddington, the Third Circuit also reversed in
14 part on the basis of repeated, improper leading questions, and observed that:
15                Regarding the leading questions, appellee asserts that this
16                problem is within the control of the trial court. This may be true
                  in an ordinary law suit. But where that control is lost or at least
17                palpably ignored and the conduct is a set piece running the
18                length of the trial which produces a warped version of the issues
                  as received by the jury, then that body never did have the
19                opportunity to pass upon the whole case and a judgment based
20                on that kind of a twisted trial must be set aside. . . . where, as
                  here, there has been calculated sustained improper conduct
21                producing biased issues as they went to the jury we cannot
22                decline to act. Appellant thereby was deprived of its right to a
                  fair trial. Civil or criminal, a trial is not a contest in which no
23                holds are barred. It is the determination of basic rights under our
24                Constitution.

25 Straub, 220 F.2d at 182; see also Nurnberger v. United States, 156 F. 721 (8th Cir. 1907)
26 (reversing criminal conviction and observing that “[t]he repeated indulgence to the
27 prosecutor in putting leading questions, and in form to suggest the answer, and calling for
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 1 the mere conclusion of the witness, was manifestly unfair and prejudicial to the
 2 defendant.”). This is an extraordinarily serious problem. Here, the pattern of questioning,
 3 even after the Court has sustained a defense objection regarding leading, suggests an
 4 affirmative intent to subvert the intention of the Court to grant the Defendants a fair trial.
 5 Just a few examples, where the Government achieved its goal of improperly directing the
 6 witness, in spite of the Court’s ruling on the improper leading, follow:
 7
 8                Q.    Who signed those nutritional letters that we looked at
 9                yesterday?
                  A.    I don't know.
10                Q.    Was it Dr. Zarif?
11                A.    Yes.
                        MR. JACKSON: Objection. Leading.
12                      THE COURT: Sustained.
13
     (Tr. 464).
14
15
                  Q.     That's fair. Let me ask it this way. The same certification
16                that's on the back of this form, it must apply to someone
17                submitting this electronically; right?
                         MR. SCHACHTER: Objection. Leading.
18                       THE COURT: Sustained.
19                BY MR. MOGHADDAS:
                  Q.     Does the same certifications that are found on the back of
20                this form apply to someone who is submitting it electronically?
21
     (Tr. 944)
22
                  Q.     Did the consultants sometimes actually suggest what the
23                weight needed to be in order to qualify?
24                      MR. JACKSON: Objection. Leading.
                        THE COURT: Sustained.
25                      THE WITNESS: They call --
26                      THE COURT: Wait, wait. When the objection is
                  sustained, then you can't answer the question.
27                      THE WITNESS: Sorry.
28                BY MR. MOGHADDAS:
30                                           5
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 1                 Q.    When a consultant would call the patient that needed a
 2                 reweigh, what are some of the things that they would say to the
                   patient?
 3                 A.    They can tell the patient that, "Oh, we cannot submit
 4                 because the BMI is too low, and you should be like this weight.

 5
     (Tr. 3686).
 6
                   A.     I think he was just going around, like five in a day, and
 7                 just get up and take a break, and then later on, he's going to go
 8                 home. And so the next day it's -- like, it's slow. So sometimes --
                   so he teach me how to call the patient and give them some --
 9                 what do you call this?
10                 Q.     Script?
                   A.     Script.
11                        MR. JACKSON: Objection, Your Honor.
12                        THE COURT: Sustained.
                   THE WITNESS:
13                 A.     He gave me some script. Because I just
                   came from the Philippines, so, you know, my English is not that,
14                 you know, fluent before.
15                        THE COURT: Mr. Moghaddas, I understand you're trying
                          to assist the witness so that we can be more speedy in
16                        getting through this, but please do not lead him.
17                        MR. MOGHADDAS: Absolutely, Your Honor. I
                   apologize.
18
19 (Tr. 3663)
20                 Q.    And then can we look to the next page?
                   How about the contents of this page? Did you come up with this
21
                   language?
22                 A.    No, sir.
                   Q. This was part of the template?
23
                         MR. JACKSON: Objection. Leading. The question
24                 should be, "Where did it come from?"
                         THE COURT: Sustained.
25
                   BY MR. CHAO:
26                 Q. Ms. Alcantara, where did this language come from?
27                 A. It’s a template.

28 (Tr. 3597) (emphasis added).
30                                           6
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 1                Q.     So earlier you were testifying that Defendant Omidi
 2                instructed you to add two pounds or subtract two pounds to
                  fluctuate it through all the letters. Is this an example --
 3                       MR. JACKSON: Objection. Misstates the testimony and
 4                leading.
                         MR. MOGHADDAS: Your Honor, I didn't even finish
 5                my question yet.
 6                       THE COURT: All right. Rephrase your question.
                  BY MR. MOGHADDAS:
 7                Q.     Is this an example of where you or the nutrition
 8                department would fluctuate the weight in the letters based on
                  Defendant Omidi’s instruction to you?
 9                A.     Yes, sir.
10
     (Tr. 3677-78).
11
           The Defendants’ right to a fair trial is being undermined by repeated leading
12
     questions. We have not objected to leading questions that are simply designed to orient
13
     the witness, but as the examples above illustrate, the government has gone far beyond that
14
     in this case. The Court’s appropriate attempts to cure the improper leading have not had
15
     the desired deterrent effect. We request that the Court instruct the government, again, that
16
     leading questions are not permitted on direct examination. If the government persists in
17
     posing such questions, we request that the Court strike the witness’s testimony.
18
        III.   THE COURT SHOULD PREVENT THE GOVERNMENT FROM
19
               IMPROPERLY INFRINGING ON THE DEFENDANTS’ SIXTH
20             AMENDMENT RIGHTS WITH BASELESS OBJECTIONS TO
21             APPROPRIATE BIAS QUESTIONS.
22         During the testimony of witness Daniel Carriedo, the defense attempted to question
23 Carriedo with regard to his potential exposure to a criminal penalty, which the
24 government had apparently chosen to not follow through on, for reasons that were never
25 memorialized in any agreement. (Tr. 1692). The government conceded in colloquy that
26 Carriedo had faced criminal exposure, and indeed the subject of Carriedo’s testimony was
27 that he had purportedly participated in a criminal scheme at the direction of Charles
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 1 Klasky. In fact, Carriedo was one of only three individuals that the government identified
 2 pre-trial as the Defendants’ coconspirators in the charged insurance fraud scheme, along
 3 with Klasky and Hong. Nevertheless, when the defense attempted to question Carriedo on
 4 this significant benefit he had received, the government objected:
 5
                 Q.    Let me just ask you: You are testifying here today -- I'm
 6               correct -- you have no agreement whatsoever with the
 7               government?
                 A.    For today?
 8               Q.    Yes.
 9               A.    No agreement.
                 Q.    Right. You haven't reached any sort of formal cooperation
10               agreement?
11               A.    No.
                 Q.     You didn't have some sort of formal immunization
12               process?
13               A.    For today, no.
                 Q.    You didn't have some sort of nonprosecution or deferred
14               prosecution agreement with the government; correct?
15               A.    Correct.
                 Q.    And so you still agreed to come testify in this case; right?
16               A.     Correct.
17               Q.    And it’s your understanding, with regard to you, that the
                 government could have charged you for the activities that you
18               admitted to them engaging in; right?
19                     MR. CHAO: Objection. Calls for a legal conclusion.
                       THE COURT: Sustained.
20               BY MR. JACKSON:
21               Q.    Well, my only question is: You understood that you
                 received a benefit from the government in not being charged;
22
                 correct?
23                     MR. CHAO: Objection. Vague. Calls for a legal
                 conclusion.
24
                       THE COURT: Sustained.
25
26 (Tr. 1691-92). The defense submits that Carriedo’s understanding of the fact that the
27 prosecution granted him an enormous benefit in not prosecuting him was an appropriate
28 line of cross-examination, but Carriedo is off the stand and there is no longer an
30                                           8
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 1 opportunity to question him. The government’s objection during Carriedo’s cross-
 2 examination, however, raises a grave concern for the defense that the Government may
 3 attempt to prevent the defense from questioning its other alleged co-conspirator witnesses
 4 regarding the benefits they have received from the government through their plea
 5 agreements. This is traditional bias cross, and it would be reversible error for the
 6 government to offer any objection in this area. See, e.g., United States v. Schoneberg, 396
 7 F.3d 1036, 1042 (9th Cir. 2005) (reversing conviction on the basis of district court’s
 8 failure to permit cross examination of coconspirator on agreement with the government,
 9 writing “[w]here a plea agreement allows for some benefit or detriment to flow to a
10 witness as a result of his testimony, the defendant must be permitted to cross examine the
11 witness sufficiently to make clear to the jury what benefit or detriment will flow, and what
12 will trigger the benefit or detriment, to show why the witness might testify falsely in order
13 to gain the benefit or avoid the detriment.”); see also United States v. Nickle, 816 F.3d
14 1230, 1235 (9th Cir. 2016) (finding district court abused its discretion in preventing
15 defendant from questioning “government’s cooperating witnesses about the Rule 35 terms
16 of their plea agreements,” citing Schoneberg, and observing “the district court had it
17 precisely backwards: It is the fact that the government had not yet made a Rule 35 motion
18 that would give the witnesses the greatest incentive to tailor their testimony to please the
19 prosecution.”).
20                                        CONCLUSION
21         For all of the reasons stated herein, the Court should force the Government to abide
22 by the law as it related to the testimony of its cooperating witnesses.
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 1                                         Respectfully submitted,
 2
 3   Dated: October 25, 2021
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